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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
IQBAL AHMAD,
                                                                        Case No.: 1:20-cv-05514 (ALC/SLC)
                                      Plaintiff,
                                                                          CONFIDENTIALITY STIPULATION AND
                   -against-                                                     PROTECTIVE ORDER

ENTERPRISE HOLDINGS, LLC, EAN
HOLDINGS, LLC and NISSAN NORTH
AMERICA, INC.,

                                       Defendants.
--------------------------------------------------------------------X

       WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

      ORDERED that the following restrictions and procedures shall apply to the information
and documents exchanged by the parties in connection with the pre-trial phase of this action:

        1.     Counsel for any party may designate any document or information, in whole or
in part, as confidential if counsel determines, in good faith, that such designation is necessary
to protect the interests of the client in information that is proprietary, a trade secret or
otherwise sensitive non-public information. Information and documents designated by a party
as confidential will be stamped “CONFIDENTIAL.”

        2.     The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.

       3.      In the event a party challenges another party’s designation of confidentiality,
counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution,
the challenging party may seek resolution by the Court. Nothing in this Protective Order
constitutes an admission by any party that Confidential Information disclosed in this case is
relevant or admissible. Each party reserves the right to object to the use or admissibility of the
Confidential Information.

        4.      The parties should meet and confer if any production requires a designation of
“For Attorneys’ or Experts’ Eyes Only.” All other documents designated as “CONFIDENTIAL”
shall not be disclosed to any person, except:

                   a.        The requesting party and counsel, including in-house counsel;
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               b.      Employees of such counsel assigned to and necessary to assist in the
                       litigation;
               c.      Consultants or experts assisting in the prosecution or defense of the
                       matter, to the extent deemed necessary by counsel; and
               d.      The Court (including the mediator, or other person having access to any
                       Confidential Information by virtue of his or her position with the Court).
      5.      Prior to disclosing or displaying the Confidential Information to any person,
counsel must:
               a.      Inform the person of the confidential nature of the information or
                       documents;
               b.      Inform the person that this Court has enjoined the use of the information
                       or documents by him/her for any purpose other than this litigation and
                       has enjoined the disclosure of the information or documents to any other
                       person; and
               c.      Require each such person to sign an agreement to be bound by this Order
                       in the form attached as Exhibit A.
       6.     The disclosure of a document or information without designating it as
“Confidential” shall not constitute a waiver of the right to designate such document or
information as Confidential Information. If so designated, the document or information shall
thenceforth be treated as Confidential Information subject to all the terms of this Stipulation
and Order.

        7.       Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the receiving party in a manner that is secure
and confidential and shared only with authorized individuals in a secure manner. The
producing party may specify the minimal level of protection expected in the storage and
transfer of its information. In the event the party who received PII experiences a data breach, it
shall immediately notify the producing party of same and cooperate with the producing party
to address and remedy the breach. Nothing herein shall preclude the producing party from
asserting legal claims or constitute a waiver of legal rights and defenses in the event of litigation
arising out of the receiving party’s failure to appropriately protect PII from unauthorized
disclosure.

        8.     Pursuant to Federal Rule of Evidence 502, the production of privileged or work-
product protected documents or communications, electronically stored information (“ESI”) or
information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or
protection from discovery in this case or in any other federal or state proceeding. This Order
shall be interpreted to provide the maximum protection allowed by Federal Rule of Evidence
502(d). Nothing contained herein is intended to or shall serve to limit a party’s right to conduct
a review of documents, ESI or information (including metadata) for relevance, responsiveness


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and/or segregation of privileged and/or protected information before production.

        9.      Notwithstanding the designation of information as “Confidential” in discovery,
there is no presumption that such information shall be filed with the Court under seal. The
parties shall follow the Court’s procedures for requests for filing under seal.

         10.    At the conclusion of litigation, Confidential Information and any copies thereof
shall be promptly (and in no event later than 30 days after entry of final judgment no longer
subject to further appeal) returned to the producing party or certified as destroyed, except that
the parties’ counsel shall be permitted to retain their working files on the condition that those
files will remain protected.

       11.    Nothing herein shall preclude the parties from disclosing material designated to
be Confidential Information if otherwise required by law or pursuant to a valid subpoena.

Respectfully submitted this 15th day of October, 2020.
LAW OFFICE OF MICHAEL J. AVILES                               BRAND CLICK & BRAND, P.C.
& ASSOCIATES                                                  Attorneys for Defendants,
Attorneys for Plaintiff, Iqbal Ahmad                          Enterprise Holdings, LLC and EAN
                                                              Holdings, LLC

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By:
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Dated: New York, New York                                    SO ORDERED.
       October 21, 2020




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                                           Exhibit A

                                          Agreement

       I have been informed by counsel that certain documents or information to be disclosed
to me in connection with the matter entitled have been designated as confidential. I have been
informed that any such documents or information labeled “CONFIDENTIAL” are confidential by
Order of the Court.

          I hereby agree that I will not disclose any information contained in such documents to
any other person. I further agree not to use any such information for any purpose other than
this litigation.



DATED:



Signed in the presence of:



(Attorney)




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